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                EXHIBIT 5-g to PLAINTIFFS’
              APPENDIX OF EXPERT REPORTS
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                                                                           Lieff Cabraser Heimann & Bernstein, LLP
                                                                                       250 Hudson Street, 8th Floor
                                                                                         New York, NY 10013-1413
                                                                                                   t 212.355.9500
                                                                                                   f 212.355.9592




                                                                                            Kelly K. McNabb
                                        September 24, 2020                                           Partner
                                                                                          kmcnabb@lchb.com



VIA E-MAIL


Carl R. Metz
Williams & Connolly, LLP
725 Twelfth Street, N.W.
Washington, D.C. 20005-5901

                RE:    City of Huntington, et al. v. AmerisourceBergen Drug Corp., et al.
                       Materials for Dr. Katherine Keyes

Dear Mr. Metz:

                In response to your September 22, 2020 letter, please find enclosed the requested
calculations related to Dr. Katherine Keyes’ sensitivity tests. We disagree with your
characterization of Dr. Keyes’ testimony, the purported “relevance” of the sensitivity tests, and
the assertion that the previous production was incomplete. Contrary to your letter, Dr. Keyes did
not testify that the calculations were “relevant” to her analyses. All of the calculations relevant to
Dr. Keyes’ report were provided in the workbook that you received several weeks ago.

                                               Very truly yours,



                                               Kelly K. McNabb




cc:     mdl2804discovery@motleyrice.com
        Track2OpioidDefendants@reedsmith.com




San Francisco          New York            Nashville           Munich             www.lieffcabraser.com
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* suppressed values were set to 5




                                                                                           Only
                                                                                           syntheric
                                                                                           opioids / all
                                                                                           Rx opioids
                                                                                           (We used
                                           Rx opioids      Rx opioids      Synthetic       WV rates as
                                           including       not             opioids only:   Cabell rates
                                           synthetic:      including       T40.2-T40.4     were based
                          All opioids:     T40.2,          synthetic:      minus T40.2     on small
                          T40.0-T40.4      T40.3, T40.4    T40.2, T40.3    and T40.3       numbers)
       1999                            5               5               5              0     0.44444444
       2000                            5               5               5              0     0.18918919
       2001                          12               12               5              7     0.20610687
       2002                          15               15              12              3     0.14792899
       2003                          15               15               5             10     0.13612565
       2004                          17               17              13              4     0.19166667
       2005                            5               5               5              0      0.2189781
       2006                          21               20              16              4             0.12
       2007                          37               33              28              5     0.18927445
       2008                          25               25              19              6     0.15789474
       2009                            5               5               5              0     0.15822785
       2010                          25               23              23              0     0.12296984
       2011                          36               29              26              3     0.09160305
       2012                          22               18              18              0     0.09512761
       2013                          42               26              24              2
       2014                          45               32              27              5
       2015                          69               48              29             19
       2016                          87               69              29             40
       2017                        132              124               24            100
       2018     Cabell             105              104               17             87
       1999                          28    27              15                        12    0.44444444
       2000                          39    37              30                         7    0.18918919
       2001                        135     131             104                       27    0.20610687
       2002                        174     169             144                       25    0.14792899
       2003                        193     191             165                       26    0.13612565
       2004                        247     240             194                       46    0.19166667
       2005                        138     137             107                       30     0.2189781
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   2006                   279   275      242                33          0.12
   2007                   328   317      257                60   0.18927445
   2008                   367   342      288                54   0.15789474
   2009                   175   158      133                25   0.15822785
   2010                   447   431      378                53   0.12296984
   2011                   547   524      476                48   0.09160305
   2012                   464   431      390                41   0.09512761
   2013                   487   414      368                46
   2014                   541   437      383                54
   2015                   621   512      380               132
   2016                   728   640      340               300
   2017                   828   795      304               491
   2018     WV            696   681      234               447
   1999                  5441   4030     3442              588   0.14590571
   2000                  5848   4400     3785              615   0.13977273
   2001                  6957   5528     4770              758   0.13712012
   2002                  9168   7456     6483              973   0.13049893
   2003                 10237   8517     7461             1056   0.12398732
   2004                 11449   9857     8577             1280   0.12985695
   2005                 12570   10928    9612             1316    0.1204246
   2006                 15338   13723    11589            2134   0.15550536
   2007                 16391   14408    12796            1612   0.11188229
   2008                 17307   14800    13149            1651   0.11155405
   2009                 18322   15597    13523            2074   0.13297429
   2010                 19155   16651    14583            2068   0.12419674
   2011                 20588   16917    15140            1777   0.10504227
   2012                 21036   16007    14240            1767    0.1103892
   2013                 23153   16235    14145            2090
   2014                 27119   18893    14838            4055
   2015                 31546   22598    15281            7317
   2016                 40778   32445    17087           15358
   2017                 46394   40051    17029           23022
   2018   National      45925   40893    14975           25918
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 Average of T40.4 only deaths directly
attributable (average of average, 17.6)    All T40.4 deaths directly attributable    No T40.4 deaths directly attribut




                             Deaths due                                Deaths due
                             to non-                                   to non-
                             Prescription                              Prescription
                             Opioids                                   Opioids
                             attributable                              attributable
Directly      Deaths due     to            Directly     Deaths due     to            Directly
attributable to non-Rx       Prescription attributable to non-Rx       Prescription attributable
to Rx opiods opioids         Opioids       to Rx opiods opioids        Opioids       to Rx opiods
            5            0               0            5            0               0            5
            5            0               0            5            0               0            5
          12             0               0           12            0               0            5
          15             0               0           15            0               0           12
          15             0               0           15            0               0            5
          17             0               0           17            0               0           13
            5            0               0            5            0               0            5
          20             1               1           20            1               1           16
          33             4               2           33            4               2           28
          25             0               0           25            0               0           19
            5            0               0            5            0               0            5
          23             2               1           23            2               1           23
          29             7               4           29            7               4           26
          18             4               2           18            4               2           18
          24           18               10           26          16                9           24
          28           17                9           32          13                7           27
          32           37               20           48          21               11           29
          36           51               27           69          18               10           29
          42           90               48          124            8               4           24
          32           73               39          104            1               1           17
          27             1               1           27            1               1           15
          37             2               1           37            2               1           30
         131             4               2          131            4               2          104
         169             5               3          169            5               3          144
         191             2               1          191            2               1          165
         240             7               4          240            7               4          194
         137             1               1          137            1               1          107
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    275          4          2        275          4          2        242
    317         11          6        317         11          6        257
    342         25         13        342         25         13        288
    158         17          9        158         17          9        133
    431         16          9        431         16          9        378
    524         23         12        524         23         12        476
    431         33         18        431         33         18        390
    376        111         59        414         73         39        368
    393        148         79        437        104         56        383
    403        218        116        512        109         58        380
    393        335        179        640         88         47        340
    391        437        233        795         33         18        304
    313        383        205        681         15          8        234
   4030       1411        753       4030       1411        753       3442
   4400       1448        773       4400       1448        773       3785
   5528       1429        763       5528       1429        763       4770
   7456       1712        914       7456       1712        914       6483
   8517       1720        918       8517       1720        918       7461
   9857       1592        850       9857       1592        850       8577
  10928       1642        877      10928       1642        877       9612
  13723       1615        862      13723       1615        862      11589
  14408       1983       1059      14408       1983       1059      12796
  14800       2507       1339      14800       2507       1339      13149
  15597       2725       1455      15597       2725       1455      13523
  16651       2504       1337      16651       2504       1337      14583
  16917       3671       1960      16917       3671       1960      15140
  16007       5029       2685      16007       5029       2685      14240
  14411       8742       4668      16235       6918       3694      14145
  15353      11766       6283      18893       8226       4393      14838
  16211      15335       8189      22598       8948       4778      15281
  19039      21739      11609      32445       8333       4450      17087
  19955      26439      14118      40051       6343       3387      17029
  18269      27656      14768      40893       5032       2687      14975
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                                          Average of T40.4 only deaths directly
                                         attributable (average of average, 17.6      Assuming average number of 1999-
No T40.4 deaths directly attributable           (summed average, 17.1)                  2012 Rx fentanyl deaths/year




                           Deaths due                                 Deaths due
                           to non-                                    to non-
                           Prescription                               Prescription
                           Opioids                                    Opioids
                           attributable                               attributable
            Deaths due     to            Directly      Deaths due     to            Directly     Deaths due
            to non-Rx      Prescription attributable to non-Rx        Prescription attributable to non-Rx
            opioids        Opioids       to Rx opiods opioids         Opioids       to Rx opiods opioids
                       0               0             5            0               0            5            0
                       0               0             5            0               0            5            0
                       7               4            12            0               0           12            0
                       3               2            15            0               0           15            0
                      10               5            15            0               0           15            0
                       4               2            17            0               0           17            0
                       0               0             5            0               0            5            0
                       5               3            20            1               1           20            1
                       9               5            33            4               2           33            4
                       6               3            25            0               0           25            0
                       0               0             5            0               0            5            0
                       2               1            23            2               1           23            2
                      10               5            29            7               4           29            7
                       4               2            18            4               2           18            4
                      18              10       24.342       17.658                9           27          15
                      18              10       27.855       17.145                9           30          15
                      40              21       32.249       36.751               20           32          37
                      58              31        35.84        51.16               27           32          55
                     108              58          41.1        90.9               49           27         105
                      88              47       31.877       73.123               39           20          85
                      13               7            27            1               1           27            1
                       9               5            37            2               1           37            2
                      31              17           131            4               2          131            4
                      30              16           169            5               3          169            5
                      28              15           191            2               1          191            2
                      53              28           240            7               4          240            7
                      31              17           137            1               1          137            1
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     37         20          275           4       2        275          4
     71         38          317          11       6        317         11
     79         42          342          25      13        342         25
     42         22          158          17       9        158         17
     69         37          431          16       9        431         16
     71         38          524          23      12        524         23
     74         40          431          33      18        431         33
    119         64     375.866      111.134      59        403         84
    158         84     392.234      148.766      79        418        123
    241        129     402.572      218.428     117        415        206
    388        207        391.3       336.7     180        375        353
    524        280     387.961      440.039     235        339        489
    462        247     310.437      385.563     206        269        427
   1999       1067         4030        1411     753       4030       1411
   2063       1102         4400        1448     773       4400       1448
   2187       1168         5528        1429     763       5528       1429
   2685       1434         7456        1712     914       7456       1712
   2776       1482         8517        1720     918       8517       1720
   2872       1534         9857        1592     850       9857       1592
   2958       1580       10928         1642     877      10928       1642
   3749       2002       13723         1615     862      13723       1615
   3595       1920       14408         1983    1059      14408       1983
   4158       2220       14800         2507    1339      14800       2507
   4799       2563       15597         2725    1455      15597       2725
   4572       2441       16651         2504    1337      16651       2504
   5448       2909       16917         3671    1960      16917       3671
   6796       3629       16007         5029    2685      16007       5029
   9008       4810    14502.39      8650.61    4619      15550       7603
  12281       6558   15531.405    11587.595    6188      16243      10876
  16265       8686   16532.207    15013.793    8017      16686      14860
  23691      12651   19713.218    21064.782   11249      18492      22286
  29365      15681   20965.762    25428.238   13579      18434      27960
  30950      16527   19406.978    26518.022   14161      16380      29545
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                                           Average of T40.4 only
                                           deaths directly
rage number of 1999-                       attributable (average All T40.4 deaths directly
ntanyl deaths/year                         of average, 17.6)     attributable




          Deaths due
          to non-
          Prescription
          Opioids
          attributable
          to
          Prescription                     Total prescription          Total prescription opioid
          Opioids                          opioid attributable         attributable
                      0                                            5                           5
                      0                                            5                           5
                      0                                           12                          12
                      0                                           15                          15
                      0                                           15                          15
                      0                                           17                          17
                      0                                            5                           5
                      1                                           21                          21
                      2                                           35                          35
                      0                                           25                          25
                      0                                            5                           5
                      1                                           24                          24
                      4                                           33                          33
                      2                                           20                          20
                      8                                           34                          35
                      8                                           37                          39
                     20                                           52                          59
                     29                                           63                          79
                     56                                           90                         128
                     45                                           71                         105
                      1                                           28                          28
                      1                                           38                          38
                      2                                          133                         133
                      3                                          172                         172
                      1                                          192                         192
                      4                                          244                         244
                      1                                          138                         138
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       2                                      277                  277
       6                                      323                  323
      13                                      355                  355
       9                                      167                  167
       9                                      440                  440
      12                                      536                  536
      18                                      449                  449
      45                                      435                  453
      66                                      472                  493
     110                                      519                  570
     189                                      572                  687
     261                                      624                  813
     228                                      518                  689
     753                                     4783                 4783
     773                                     5173                 5173
     763                                     6291                 6291
     914                                     8370                 8370
     918                                     9435                 9435
     850                                    10707                10707
     877                                    11805                11805
     862                                    14585                14585
    1059                                    15467                15467
    1339                                    16139                16139
    1455                                    17052                17052
    1337                                    17988                17988
    1960                                    18877                18877
    2685                                    18692                18692
    4060                                    19079                19929
    5808                                    21636                23286
    7935                                    24400                27376
   11901                                    30648                36895
   14931                                    34073                43438
   15777                                    33037                43580
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                            Average of T40.4 only
                            deaths directly            Assuming average
                            attributable (average of   number of 1999-
No T40.4 deaths             average, 17.6 (summed      2012 Rx fentanyl
directly attributable       average, 17.1)             deaths/year




Total prescription          Total prescription opioid Total prescription
opioid attributable         attributable               opioid attributable
                        5                            5                     5
                        5                            5                     5
                        9                           12                    12
                       14                           15                    15
                       10                           15                    15
                       15                           17                    17
                        5                            5                     5
                       19                           21                    21
                       33                           35                    35
                       22                           25                    25
                        5                            5                     5
                       24                           24                    24
                       31                           33                    33
                       20                           20                    20
                       34                       33.342                    35
                       37                       36.855                    38
                       50                       52.249                    52
                       60                        62.84                    61
                       82                         90.1                    83
                       64                       70.877                    65
                       22                           28                    28
                       35                           38                    38
                      121                          133                  133
                      160                          172                  172
                      180                          192                  192
                      222                          244                  244
                      124                          138                  138
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             262                    277             277
             295                    323             323
             330                    355             355
             155                    167             167
             415                    440             440
             514                    536             536
             430                    449             449
             432               434.866              448
             467               471.234              484
             509               519.572              525
             547                  571.3             564
             584               622.961              600
             481               516.437              497
            4509                   4783            4783
            4887                   5173            5173
            5938                   6291            6291
            7917                   8370            8370
            8943                   9435            9435
           10111                 10707            10707
           11192                 11805            11805
           13591                 14585            14585
           14716                 15467            15467
           15369                 16139            16139
           16086                 17052            17052
           17024                 17988            17988
           18049                 18877            18877
           17869                 18692            18692
           18955              19121.39            19610
           21396             21719.405            22051
           23967             24549.207            24621
           29738             30962.218            30393
           32710             34544.762            33365
           31502             33567.978            32157
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